   Case: 1:17-cv-02393 Document #: 220 Filed: 10/22/19 Page 1 of 2 PageID #:3533




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

JOHN NAWARA,

               Plaintiff,

       v.                                               Case No. 1:17-cv-02393

COUNTY OF COOK, a unit of local                         Judge Rebecca R. Pallmeyer
Government; THOMAS DART, in his
individual and official capacity as Sheriff of
Cook County, Illinois, KAREN JONES-
HAYES, MATTHEW BURKE, REBECCA
REIERSON and WINIFRED SHELBY in their
individual capacities,

               Defendants.

PLAINTIFF’S MOTION FOR LEAVE TO FILE INSTANTER MOTION FOR PARTIAL
   SUMMARY JUDGMENT AS TO LIABILITY ON PLAINTIFF’S ADA CLAIMS

       Plaintiff, John Nawara (“Nawara”), requests that this Honorable Court grant him leave to

file his attached proposed Motion for Partial Summary Judgment as to liability on Plaintiff’s

claims under the Americans with Disabilities Act (“ADA”), and states:

       1.      At the last court date on October 9, 2019, the Court indicated that the time for

filing motions for summary judgment had passed and that the Plaintiff would be required to

obtain leave of court if he wished to file a motion for summary judgment.

       2.      On June 25, 2019, the Court entered a scheduling order (Doc. 196). The Court

extended the fact discovery cutoff to November 15, 2019, and the date for dispositive motions to

February 18, 2020 (Doc. 196).

       3.      Plaintiff’s attached proposed Motion for Partial Summary Judgment seeks

summary judgment as to liability on Count I of Plaintiff’s Second Amended Complaint (ADA

claims) (Doc. 89).



                                                 1
   Case: 1:17-cv-02393 Document #: 220 Filed: 10/22/19 Page 2 of 2 PageID #:3533




       4.      A copy of the proposed Motion for Partial Summary Judgment and Local Rule

56.1(a)(3) Statement with Exhibits are attached hereto as Exhibits 1, 2 and 3.

       5.      Plaintiff believes that the motion will streamline the case and shorten the trial

scheduled for February 24, 2020 (Doc. 219). Nawara submits that there is no genuine issue of

material fact that the release forms for all of Nawara’s medical records in connection with a

fitness for duty examination violates the ADA.

       6.      The trial will not be delayed by granting Plaintiff leave to file his Motion for

Partial Summary Judgment. Plaintiff anticipates completing fact discovery by November 15,

2019. The motion should not result in postponement of the February 24, 2020 jury trial.

       WHEREFORE, Plaintiff, John Nawara, requests that the Court grant him leave to file

his attached Motion for Partial Summary Judgment and grant him any other relief the Court

deems appropriate.

                                              JOHN NAWARA


                                              s/ Richard F. Linden
                                              One of Plaintiff’s attorneys



Richard F. Linden
312/590-0211
lindenlaw@gmail.com

Peter V. Bustamante
312/346-2072
pvbust@bustamantelaw.com

Linden & Bustamante
17 North State Street, Suite 1550
Chicago, Illinois 60602




                                                 2
